                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                          HARRISONBURG DIVISION


                                                          Action No: 5:17CV97
   John Doe 4                                             Date: 7/16/2019
   vs.                                                    Judge: Elizabeth K. Dillon
                                                          Court Reporter: J. Meyer
   Shenandoah Valley Juvenile Center Commission
                                                          Deputy Clerk: B. Davis



   Plaintiff Attorneys                            Defendant Attorneys
   Hannah Lieberman                               Howard Johnson
   Theodore Howard                                Jason Botkins




  PROCEEDINGS:
  Hearing held as a continued fairness hearing. Comments from the Court. Comments from
  Counsel. The Court approves the settlement of this matter. Counsel to prepare a draft order
  and submit it to the Court by 7/22/2019.



  Time in Court: 11:32a – 11:40a (8 min)




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